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8
9                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF WASHINGTON
10
     MARK BRYANT, individually and on behalf of             Case No. 3:21-cv-05262-JLR
11   all others similarly situated,
                                                            CLASS ACTION
12                                             Plaintiff,
                                                            FIRST AMENDED CLASS ACTION
13                          v.                              COMPLAINT FOR DAMAGES
14   FISHER INVESTMENTS, INC.,                              JURY TRIAL DEMANDED
15                                          Defendant.
16

17

18          Plaintiff Mark Bryant brings this class action against Defendant Fisher Investments, Inc.
19   (“Defendant”) and alleges as follows upon personal knowledge as to themselves and their own
20   acts and experiences, and, as to all other matters, upon information and belief, including
21   investigation conducted by their attorneys.
22                                    NATURE OF THE ACTION
23          This is a putative class action pursuant to the Telephone Consumer Protection Act, 47
24   U.S.C. §§ 227, et seq. (the “TCPA”).
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1             1.      Defendant is a “fee-only investment adviser serving institutional and private clients

2    globally.” 1

3             2.      Defendant violated the TCPA by placing solicitation calls to individuals’ who have

4    listed their telephone numbers on the National Do Not Call Registry.

5             3.      Through this action, Plaintiff seeks injunctive relief to halt Defendant’s unlawful

6    conduct, which has resulted in the invasion of privacy, harassment, aggravation, and disruption of

7    the daily life of thousands of individuals. Plaintiff also seeks statutory damages on behalf of

8    themselves and members of the Class, and any other available legal or equitable remedies.
9                                      JURISDICTION AND VENUE

10            4.      This Court has federal question subject matter jurisdiction over this action pursuant

11   to 28 U.S.C. § 1331, as the action arises under the Telephone Consumer Protection Act, 47 U.S.C.

12   §§ 227, et seq. (“TCPA”).

13            5.      The Court has personal jurisdiction over Defendant and venue is proper in this

14   District because Defendant’s principal place of business is in this District.

15                                                 PARTIES

16            6.      Plaintiff is a natural person who, at all times relevant to this action, was a citizen

17   and domiciled in the State of North Carolina.

18            7.      Defendant is a Delaware corporation whose principal office is located at 5525 NW

19   Fisher Creek Drive, Camas, WA 98607. Defendant directs, markets, and provides its business

20   activities throughout the state of North Carolina.

21            8.      Unless otherwise indicated, the use of Defendant’s name in this Complaint includes

22   all agents, employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

23   sureties, subrogees, representatives, vendors, and insurers of Defendant.

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         https://www.fisherinvestments.com/en-us/about (last visited March 11, 2021).
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1                                                 FACTS

2           9.      Beginning in approximately the fall of 2020, Defendant began calling Plaintiff’s

3    cellular telephone number ending in 1809 (the “1809 Number”).

4           10.     The telephone calls Plaintiff received originated from numerous telephone

5    numbers, including 919-659-7211.

6           11.     The telephone number 919-659-7211 is owned and/or operated by Defendant.

7           12.     In total, Defendant has called the 1809 number approximately fifteen times.

8           13.     At the time Plaintiff received Defendant calls, Plaintiff was the subscriber and user
9    of the 1809 Number.
10          14.     The 1809 Number is Plaintiff’s personal cell phone number and not a business
11   phone number.
12          15.     The 1809 Number has been registered with the National Do Not Call Registry since
13   October 24, 2009.
14          16.     Defendant’s calls constitute telemarketing/advertising/solicitations because they
15   encouraged the future purchase or investment in property, goods, or services; specifically, the use
16   of Defendant’s financial products and services.
17          17.     At no point in time did Plaintiff provide Defendant with his consent to be contacted
18   by marketing telephone calls.

19          18.     Plaintiff never directly provided Defendant with the 1809 Number.

20          19.     Plaintiff never inquired into any of Defendant’s good or services.

21          20.     Plaintiff never made a purchase from Defendant and has never had any type of

22   business relationship with Defendant.

23          21.     Plaintiff has not purchased or transacted with Defendant in the 18-months prior to

24   receipt of the first call from Defendant.

25          22.     Plaintiff asked Defendant multiple times to cease calling the 1809 Number. Despite

26   this, Defendant placed calls to the 1809 Number after Plaintiff’s request to cease calls to the 1809

27   Number.

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1            23.     Plaintiff revoked any type of consent or permission Defendant may have had to

2    contact his telephone with solicitations.

3            24.     Defendant failed to honor or abide by Plaintiff’s opt-out requests and continued to

4    repeatedly call Plaintiff after he asked for the calls to stop.

5            25.     Defendant’s failure to abide by Plaintiff’s opt-out requests is indicative of

6    Defendant’s lack of a written policy for maintaining internal do not call procedures.

7            26.     Defendant’s failure to abide by Plaintiff’s opt-out requests is indicative of

8    Defendant’s failure to institute procedures for maintaining a list of persons who request not to
9    receive telemarketing calls.

10           27.     Defendant’s failure to abide by Plaintiff’s opt-out requests is indicative of

11   Defendant’s failure to maintain an internal do not call list, as well as inform and train its personnel

12   engaged in telemarking in the existence and the use of any internal do not call list.

13           28.     Defendant’s failure to abide by Plaintiff’s opt-out requests demonstrates that

14   Defendant does not record opt-out requests or place subscribers’ names and telephone number on

15   any do-not-call list at the time the requests are made.

16           29.     Defendant’s unsolicited communications caused Plaintiff harm, including invasion

17   of privacy, aggravation, annoyance, intrusion on seclusion, trespass, and conversion. Defendant’s

18   call also inconvenienced Plaintiff and caused disruption to his daily life.

19                                             CLASS ALLEGATIONS

20           PROPOSED CLASS

21           30.     Plaintiff brings this case as a class action pursuant to Fed. R. Civ. P. 23, on behalf

22   of Plaintiff and all others similarly situated.

23           31.     Plaintiff brings this case on behalf of the Class defined as follows:

24                   INTERNAL DO NOT CALL CLASS: All persons within the
                     United States who, within the four years prior to the filing of this
25                   Complaint, (1) were a call, (2) regarding Defendant’s goods,
                     products or services, (3) to said person’s residential telephone
26                   number, (4) after making a request to Defendant to not receive future
                     calls.
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                    DO NOT CALL CLASS: All persons in the United States who
1                   from four years prior to the filing of this action: (1) were sent a call;
2                   (2) more than one time within any 12-month period; (3) where the
                    person’s telephone number had been listed on the National Do Not
3                   Call Registry for at least thirty days; (4) for the purpose of
                    advertising and/or promoting Defendant’s products and/or services.
4

5           32.     Plaintiff reserves the right to modify the Class definitions as warranted as facts are

6    learned in further investigation and discovery.

7           33.     Defendant and its employees or agents are excluded from the Classes. Plaintiff does

8    not know the number of members in the Classes but believes the Classes members number in the

9    several thousands, if not more.

10          NUMEROSITY

11          34.     Upon information and belief, Defendant has placed calls to telephone numbers

12   belonging to thousands of consumers throughout the United States. The members of the Classes,

13   therefore, are believed to be so numerous that joinder of all members is impracticable.

14          35.     The exact number and identities of the members of the Class are unknown at this

15   time and can only be ascertained through discovery. Identification of the Class members is a

16   matter capable of ministerial determination from Defendant’s call records.

17          COMMON QUESTIONS OF LAW AND FACT

18          36.     There are numerous questions of law and fact common to members of the Class

19   which predominate over any questions affecting only individual members of the Class. Among

20   the questions of law and fact common to the members of the Class are:

21                  a) Whether Defendant initiated telemarketing calls to telephone numbers listed on
22                      the National Do Not Call Registry;

23                  b) Whether Defendant honors consumer opt-out requests;
24                  c) Whether Defendant maintains an internal do-not-call list and trains its
25                      employees on use of that list;

26                  d) Whether Defendant is liable for damages, and the amount of such damages; and
27                  e) Whether Defendant should be enjoined from such conduct in the future.
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1           37.     The common questions in this case are capable of having common answers. If

2    Plaintiff’s claim that Defendant routinely makes unlawful solicitation calls is accurate, Plaintiff

3    and the Class members will have identical claims capable of being efficiently adjudicated and

4    administered in this case.

5           TYPICALITY

6           38.     Plaintiff’s claims are typical of the claims of the Class members, as they are all

7    based on the same factual and legal theories.

8           PROTECTING THE INTERESTS OF THE CLASS MEMBERS
9           39.     Plaintiff is a representative who will fully and adequately assert and protect the

10   interests of the Class, and has retained competent counsel. Accordingly, Plaintiff is an adequate

11   representative and will fairly and adequately protect the interests of the Class.

12          PROCEEDING VIA CLASS ACTION IS SUPERIOR AND ADVISABLE

13          40.     A class action is superior to all other available methods for the fair and efficient

14   adjudication of this lawsuit, because individual litigation of the claims of all members of the Class

15   is economically unfeasible and procedurally impracticable. While the aggregate damages sustained

16   by the Class are in the millions of dollars, the individual damages incurred by each member of the

17   Class resulting from Defendant’s wrongful conduct are too small to warrant the expense of

18   individual lawsuits. The likelihood of individual Class members prosecuting their own separate

19   claims is remote, and, even if every member of the Class could afford individual litigation, the

20   court system would be unduly burdened by individual litigation of such cases.

21          41.     The prosecution of separate actions by members of the Class would create a risk of

22   establishing inconsistent rulings and/or incompatible standards of conduct for Defendant. For

23   example, one court might enjoin Defendant from performing the challenged acts, whereas another

24   may not. Additionally, individual actions may be dispositive of the interests of the Class, although

25   certain class members are not parties to such actions.

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                                               COUNT I
1                   VIOLATION OF 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(d)
2                     (On Behalf of Plaintiff and the Internal Do Not Call Class)

3
            42.     Plaintiff re-alleges and incorporates the foregoing allegations set forth in
4
     paragraphs 1 through 41 as if fully set forth herein.
5
            43.     In pertinent part, 47 C.F.R. § 64.1200(d) provides:
6

7                   No person or entity shall initiate any call for telemarketing purposes
                    to a residential telephone subscriber unless such person or entity has
8                   instituted procedures for maintaining a list of persons who request
                    not to receive telemarketing calls made by or on behalf of that
9
                    person or entity. The procedures instituted must meet the following
10                  minimum standards:

11                  (1) Written policy. Persons or entities making calls for
                    telemarketing purposes must have a written policy, available upon
12                  demand, for maintaining a do-not-call list.
13                  (2) Training of personnel engaged in telemarketing. Personnel
                    engaged in any aspect of telemarketing must be informed and
14                  trained in the existence and use of the do-not-call list.
15
            44.     Under 47 C.F.R § 64.1200(e), the rules set forth in 47 C.F.R. § 64.1200(d) are
16
     applicable to any person or entity making telephone solicitations or telemarketing calls to wireless
17
     telephone numbers.
18
            45.     Plaintiff and the Internal Do Not Call Class members made requests to Defendant
19
     not to receive calls from Defendant.
20
            46.     Defendant failed to honor Plaintiff and the Internal Do Not Call Class members
21
     opt-out requests.
22
            47.     Defendant’s refusal to honor opt-out requests is indicative of Defendant’s failure to
23
     implement a written policy for maintaining a do-not-call list and to train its personnel engaged in
24
     telemarketing on the existence and use of the do-not-call-list.
25
            48.     Thus, Defendant has violated 47 C.F.R. § 64.1200(d).
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1            49.     Pursuant to section 227(c)(5) of the TCPA, Plaintiff and the Internal Do Not Call

2    Class members are entitled to an award of $500.00 in statutory damages, for each and every

3    negligent violation.

4            50.     As a result of Defendant’s knowing or willful conduct, Plaintiff and the Internal Do

5    Not Call Class members are entitled to an award of $1,500.00 in statutory damages per violation.

6            51.     Plaintiff and the Internal Do Not Call Class members are also entitled to and seek

7    injunctive relief prohibiting Defendant’s illegal conduct in the future, pursuant to section

8    227(c)(5).
9

10                                               COUNT II
                         Violations of 47 U.S.C. § 227(c) and 47 C.F.R. § 64.1200(c)
11                           (On Behalf of Plaintiff and the Do Not Call Class)

12
             52.     Plaintiff re-alleges and incorporates the allegations of paragraphs 1-41 as if fully
13
     set forth herein.
14
             53.     The TCPA’s implementing regulation, 47 C.F.R. § 64.1200(c), provides that “[n]o
15
     person or entity shall initiate any telephone solicitation” to “[a] residential telephone subscriber
16
     who has registered their telephone number on the national do-not-call registry of persons who do
17
     not wish to receive telephone solicitations that is maintained by the federal government.”
18
             54.     47 C.F.R. § 64.1200(e), provides that § 64.1200(c) and (d) “are applicable to any
19
     person or entity making telephone solicitations or telemarketing calls to wireless telephone
20
     numbers.”
21
             55.     47 C.F.R. § 64.1200(d) further provides that “[n]o person or entity shall initiate any
22
     call for telemarketing purposes to a residential telephone subscriber unless such person or entity
23
     has instituted procedures for maintaining a list of persons who request not to receive telemarketing
24
     calls made by or on behalf of that person or entity.”
25
             56.     Any “person who has received more than one telephone call within any 12- month
26
     period by or on behalf of the same entity in violation of the regulations prescribed under this
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1    subsection may” may bring a private action based on a violation of said regulations, which were

2    promulgated to protect telephone subscribers’ privacy rights to avoid receiving telephone

3    solicitations to which they object. 47 U.S.C. § 227(c).

4           57.      Defendant violated 47 C.F.R. § 64.1200(c) by initiating, or causing to be initiated,

5    telephone solicitations to telephone subscribers such as Plaintiff and the Do Not Call Registry

6    Class members who registered their respective telephone numbers on the National Do Not Call

7    Registry, a listing of persons who do not wish to receive telephone solicitations that is maintained

8    by the federal government.
9           58.      Defendant violated 47 U.S.C. § 227(c)(5) because Plaintiff and the Do Not Call
10   Registry Class received more than one telephone call in a 12-month period made by or on behalf
11   of Defendant in violation of 47 C.F.R. § 64.1200, as described above.
12          59.      As a result of Defendant’s conduct as alleged herein, Plaintiff and the Do Not Call
13   Registry Class suffered actual damages and, under section 47 U.S.C. § 227(c), are entitled, inter
14   alia, to receive up to $500 in damages for such violations of 47 C.F.R. § 64.1200.
15          60.      To the extent Defendant’s misconduct is determined to be willful and knowing, the
16   Court should, pursuant to 47 U.S.C. § 227(c)(5), treble the amount of statutory damages
17   recoverable by the members of the Do Not Call Registry Class.
18                                        PRAYER FOR RELIEF

19          WHEREFORE, Plaintiff, individually and on behalf of the Classes, prays for the

20   following relief:

21                a) An order certifying this case as a class action on behalf of the Classes as defined

22                   above, and appointing Plaintiff as the representative of the Classes and Plaintiff’s

23                   counsel as Class Counsel;

24                b) An award of actual and statutory damages for Plaintiff and each member of the

25                   Class;

26                c) As a result of Defendant’s negligent violations of 47 U.S.C. §§ 227, et seq., and its

27                   implementing regulations, Plaintiff seeks for themselves and each member of the

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1                   Class $500.00 in statutory damages for each and every violation pursuant to 47

2                   U.S.C. § 277(b)(3);

3               d) As a result of Defendant’s knowing and/or willful violations of 47 U.S.C. §§ 227,

4                   et seq., and its implementing regulations, Plaintiff seeks for themselves and each

5                   member of the Classes treble damages, as provided by statute, up to $1,500.00 for

6                   each and every violation pursuant to 47 U.S.C. § 277(b)(3)(B) and § 277(b)(3)(C);

7               e) An order declaring that Defendant’s actions, as set out above, violate the TCPA;

8               f) An injunction requiring Defendant to cease all unsolicited call activity, and to
9                   otherwise protect the interests of the Class;
10              g) An injunction prohibiting Defendant from using, or contracting the use of, an
11                  ATDS without obtaining, recipient’s consent to receive calls made with such
12                  equipment;
13              h) Such further and other relief as the Court deems necessary.
14                                           JURY DEMAND

15          Plaintiff hereby demands a trial by jury.

16                             DOCUMENT PRESERVATION DEMAND

17          Plaintiff demands that Defendants take affirmative steps to preserve all records, lists,

18   electronic databases or other itemizations associated with the allegations herein, including all

19   records, lists, electronic databases or other itemizations in the possession of any vendors,

20   individuals, and/or companies contracted, hired, or directed by Defendant to assist in sending the

21   alleged communications.

22
     DATED: June 8, 2021
23
                                                         Respectfully Submitted,
24
                                                         IJH LAW
25
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7                                   Counsel for Plaintiff

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